      Case 22-05008         Doc 2      Filed 04/26/22 Entered 04/26/22 13:59:18                 Desc Memo AP
                                                   Page 1 of 1
                                   United States Bankruptcy Court
                                              Middle District of Georgia
Date: 4/26/22
In Re:
   Jack Galardi, Jr.
Plaintiff
   Teri G. Galardi
Defendant
Adversary No. 22−05008 JPS

Main Case No. 22−50035

Re: Doc 1; Adversary case 22−05008. (67 (Dischargeability − 523(a)(4), fraud as fiduciary, embezzlement,
larceny)),(62 (Dischargeability − 523(a)(2), false pretenses, false representation, actual fraud)),(68 (Dischargeability −
523(a)(6), willful and malicious injury)) Complaint by Jack Galardi, Jr., Emelita Sy, as the Trustee of the Jack E.
Galardi, Jr. Sub−Trust against Teri G. Galardi. Fee Amount $350 (Attachments: # 1 Exhibit A # 2 Exhibit B # 3
Exhibit C # 4 Exhibit D # 5 Exhibit E # 6 Exhibit F) (Geer, Will)

Dear Mr. Geer,

Please fill out a Summons and Notice of Pretrial Conference with the necessary information and then file the
Summons using the docket event "Request for Clerk to Issue Summons". You can find a blank summons on our
website, www.gamb.uscourts.gov the Summons is under "Forms" then "Local Forms".

If you have any questions, please give our office a call.

Thank you for you attention to this matter.

Sincerely,

Mary L. Bryan

Deputy Clerk
United States Bankruptcy Court


478−749−6811
